           Case 20-14710      Doc 52         Filed 11/30/20   Page 1 of 12


  Gold & Silver Auto Sales, LLC

                                  Maryland

20-14710




                                                                             11/16/2020
                               Case 20-14710              Doc 52      Filed 11/30/20          Page 2 of 12

'HEWRU1DPH *ROG    6LOYHU $XWR 6DOHV //&
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                              
                                                                                       &DVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




     +DYH\RXSDLGDQ\ELOOV\RXRZHGEHIRUH\RXILOHGEDQNUXSWF\"                                                              ✔
                                                                                                                                          
     +DYH\RXDOORZHGDQ\FKHFNVWRFOHDUWKHEDQNWKDWZHUHLVVXHGEHIRUH\RXILOHGEDQNUXSWF\"                                
                                                                                                                                    ✔      


            2. 6XPPDU\RI&DVK$FWLYLW\IRU$OO$FFRXQWV

     7RWDORSHQLQJEDODQFHRIDOODFFRXQWV
                                                                                                                                 
                                                                                                                              BBBBBBBBBB
         7KLVDPRXQWPXVWHTXDOZKDW\RXUHSRUWHGDVWKHFDVKRQKDQGDWWKHHQGRIWKHPRQWKLQWKHSUHYLRXV
         PRQWK,IWKLVLV\RXUILUVWUHSRUWUHSRUWWKHWRWDOFDVKRQKDQGDVRIWKHGDWHRIWKHILOLQJRIWKLVFDVH.

     7RWDOFDVKUHFHLSWV
         $WWDFKDOLVWLQJRIDOOFDVKUHFHLYHGIRUWKHPRQWKDQGODEHOLWExhibit C,QFOXGHDOO
         FDVKUHFHLYHGHYHQLI\RXKDYHQRWGHSRVLWHGLWDWWKHEDQNFROOHFWLRQVRQ
         UHFHLYDEOHVFUHGLWFDUGGHSRVLWVFDVKUHFHLYHGIURPRWKHUSDUWLHVRUORDQVJLIWVRU
         SD\PHQWVPDGHE\RWKHUSDUWLHVRQ\RXUEHKDOI'RQRWDWWDFKEDQNVWDWHPHQWVLQ
         OLHXRIExhibit C
         5HSRUWWKHWRWDOIURPExhibit CKHUH                                                             
                                                                                                       BBBBBBBBBB

     7RWDOFDVKGLVEXUVHPHQWV
         $WWDFKDOLVWLQJRIDOOSD\PHQWV\RXPDGHLQWKHPRQWKDQGODEHOLWExhibit D/LVWWKH
         GDWHSDLGSD\HHSXUSRVHDQGDPRXQW,QFOXGHDOOFDVKSD\PHQWVGHELWFDUG
         WUDQVDFWLRQVFKHFNVLVVXHGHYHQLIWKH\KDYHQRWFOHDUHGWKHEDQNRXWVWDQGLQJ
         FKHFNVLVVXHGEHIRUHWKHEDQNUXSWF\ZDVILOHGWKDWZHUHDOORZHGWRFOHDUWKLVPRQWK
         DQGSD\PHQWVPDGHE\RWKHUSDUWLHVRQ\RXUEHKDOI'RQRWDWWDFKEDQNVWDWHPHQWV
         LQOLHXRIExhibit D
                                                                                                      BBBBBBBBBB
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         5HSRUWWKHWRWDOIURPExhibit DKHUH

     1HWFDVKIORZ
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                                                                                                                              BBBBBBBBBB
         6XEWUDFWOLQHIURPOLQHDQGUHSRUWWKHUHVXOWKHUH
         7KLVDPRXQWPD\EHGLIIHUHQWIURPZKDW\RXPD\KDYHFDOFXODWHGDVnet profit

     &DVKRQKDQGDWWKHHQGRIWKHPRQWK
         $GGOLQHOLQH5HSRUWWKHUHVXOWKHUH
                                                                                                                                  
                                                                                                                              BBBBBBBBBB
         5HSRUWWKLVILJXUHDVWKHcash on hand at the beginning of the monthRQ\RXUQH[WRSHUDWLQJUHSRUW
         7KLVDPRXQWPD\QRWPDWFK\RXUEDQNDFFRXQWEDODQFHEHFDXVH\RXPD\KDYHRXWVWDQGLQJFKHFNVWKDW
         KDYHQRWFOHDUHGWKHEDQNRUGHSRVLWVLQWUDQVLW



             8QSDLG%LOOV
        $WWDFKDOLVWRIDOOGHEWV LQFOXGLQJWD[HV ZKLFK\RXKDYHLQFXUUHGVLQFHWKHGDWH\RXILOHGEDQNUXSWF\EXW
        KDYHQRWSDLG/DEHOLWExhibit E,QFOXGHWKHGDWHWKHGHEWZDVLQFXUUHGZKRLVRZHGWKHPRQH\WKH
        SXUSRVHRIWKHGHEWDQGZKHQWKHGHEWLVGXH5HSRUWWKHWRWDOIURPExhibit EKHUH

     7RWDOSD\DEOHV                                                                                                                 
                                                                                                                              BBBBBBBBBBBB

               (Exhibit E)




2IILFLDO)RUP&                    0RQWKO\2SHUDWLQJ5HSRUWIRU6PDOO%XVLQHVV8QGHU&KDSWHU                           SDJH2
                                Case 20-14710             Doc 52       Filed 11/30/20              Page 3 of 12

'HEWRU1DPH *ROG    6LOYHU $XWR 6DOHV //&
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                    
                                                                                             &DVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         




            0RQH\2ZHGWR<RX
        $WWDFKDOLVWRIDOODPRXQWVRZHGWR\RXE\\RXUFXVWRPHUVIRUZRUN\RXKDYHGRQHRUPHUFKDQGLVH\RX
        KDYHVROG,QFOXGHDPRXQWVRZHGWR\RXERWKEHIRUHDQGDIWHU\RXILOHGEDQNUXSWF\/DEHOLWExhibit F
        ,GHQWLI\ZKRRZHV\RXPRQH\KRZPXFKLVRZHGDQGZKHQSD\PHQWLVGXH5HSRUWWKHWRWDOIURP
        Exhibit FKHUH
     7RWDOUHFHLYDEOHV                                                                                                                     
                                                                                                                                      BBBBBBBBBBBB

               (Exhibit F)



            (PSOR\HHV

     :KDWZDVWKHQXPEHURIHPSOR\HHVZKHQWKHFDVHZDVILOHG"
                                                                                                                                                  
                                                                                                                                       BBBBBBBBBBBB

     :KDWLVWKHQXPEHURIHPSOR\HHVDVRIWKHGDWHRIWKLVPRQWKO\UHSRUW"
                                                                                                                                                  
                                                                                                                                       BBBBBBBBBBBB




            3URIHVVLRQDO)HHV
     +RZPXFKKDYH\RXSDLGWKLVPRQWKLQSURIHVVLRQDOIHHVUHODWHGWRWKLVEDQNUXSWF\FDVH"
                                                                                                                                                
                                                                                                                                      BBBBBBBBBBBB

     +RZPXFKKDYH\RXSDLGLQSURIHVVLRQDOIHHVUHODWHGWRWKLVEDQNUXSWF\FDVHVLQFHWKHFDVHZDVILOHG"                                 
                                                                                                                                      BBBBBBBBBBBB

     +RZPXFKKDYH\RXSDLGWKLVPRQWKLQRWKHUSURIHVVLRQDOIHHV"                                                                     
                                                                                                                                      BBBBBBBBBBBB

     +RZPXFKKDYH\RXSDLGLQWRWDORWKHUSURIHVVLRQDOIHHVVLQFHILOLQJWKHFDVH"                                                    
                                                                                                                                      BBBBBBBBBBBB




            3URMHFWLRQV

        &RPSDUH\RXUDFWXDOFDVKUHFHLSWVDQGGLVEXUVHPHQWVWRZKDW\RXSURMHFWHGLQWKHSUHYLRXVPRQWK
        3URMHFWHGILJXUHVLQWKHILUVWPRQWKVKRXOGPDWFKWKRVHSURYLGHGDWWKHLQLWLDOGHEWRULQWHUYLHZLIDQ\

                                        Column A                       &ROXPQ%                         Column C
                                        3URMHFWHG                 ±   $FWXDO                          'LIIHUHQFH

                                        &RS\OLQHVIURP         &RS\OLQHVRI             6XEWUDFW&ROXPQ%
                                        WKHSUHYLRXVPRQWK¶V          WKLVUHSRUW         IURP&ROXPQ$
                                        UHSRUW

     &DVKUHFHLSWV
                                           
                                        BBBBBBBBBBBB             ±      
                                                                       BBBBBBBBBBBB                       
                                                                                                        BBBBBBBBBBBB

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                                                                       BBBBBBBBBBBB                       
                                                                                                        BBBBBBBBBBBB
     &DVKGLVEXUVHPHQWV
                                            
                                        BBBBBBBBBBBB             ±       
                                                                       BBBBBBBBBBBB                       
                                                                                                        BBBBBBBBBBBB
     1HWFDVKIORZ


     7RWDOSURMHFWHGFDVKUHFHLSWVIRUWKHQH[WPRQWK                                                                                
                                                                                                                                      BBBBBBBBBBBB

     7RWDOSURMHFWHGFDVKGLVEXUVHPHQWVIRUWKHQH[WPRQWK                                                                      BBBBBBBBBBBB
                                                                                                                                          

     7RWDOSURMHFWHGQHWFDVKIORZIRUWKHQH[WPRQWK                                                                                 
                                                                                                                                      BBBBBBBBBBBB




2IILFLDO)RUP&                     0RQWKO\2SHUDWLQJ5HSRUWIRU6PDOO%XVLQHVV8QGHU&KDSWHU                                 SDJH3
                                Case 20-14710              Doc 52      Filed 11/30/20          Page 4 of 12

'HEWRU1DPH *ROG    6LOYHU $XWR 6DOHV //&
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               
                                                                                        &DVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB   




            $GGLWLRQDO,QIRUPDWLRQ
    ,IDYDLODEOHFKHFNWKHER[WRWKHOHIWDQGDWWDFKFRSLHVRIWKHIROORZLQJGRFXPHQWV

    ✔
         %DQNVWDWHPHQWVIRUHDFKRSHQDFFRXQW UHGDFWDOOEXWWKHODVWGLJLWVRIDFFRXQWQXPEHUV 


         %DQNUHFRQFLOLDWLRQUHSRUWVIRUHDFKDFFRXQW


         )LQDQFLDOUHSRUWVVXFKDVDQLQFRPHVWDWHPHQW SURILW ORVV DQGRUEDODQFHVKHHW


         %XGJHWSURMHFWLRQRUIRUHFDVWUHSRUWV


         3URMHFWMREFRVWLQJRUZRUNLQSURJUHVVUHSRUWV




2IILFLDO)RUP&                      0RQWKO\2SHUDWLQJ5HSRUWIRU6PDOO%XVLQHVV8QGHU&KDSWHU                         SDJH4
                       Case 20-14710        Doc 52      Filed 11/30/20        Page 5 of 12



                          Z/Wd^ANDDISBURSEMENTSRECAP
'HEWRU                   *ROG     6LOYHU $XWR 6DOHV              &DVH1XPEHU 
'DWH&DVHZDVILOHG      

          7KLVIRUPLVWREHXVHGWRUHFRUG0RQWKO\2SHUDWLQJ5HSRUWV 5HFHLSWVDQG'LVEXUVHPHQWVILOHGWR
          GDWH,WVHUYHVDVDUXQQLQJWRWDORIRYHUDOOUHFHLSWVGLVEXUVHPHQWVDQGQHWFDVKIORZIRUWKHFDVH

          <HDU                                                   <HDU
             ZĞĐĞŝƉƚƐ            ŝƐď           Net                 ZĞĐĞŝƉƚƐ           ŝƐď             Net

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$XJ

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                    Case 20-14710      Doc 52   Filed 11/30/20   Page 6 of 12


'ŽůĚΘ^ŝůǀĞƌƵƚŽ^ĂůĞƐ>>
^ĞƉƚĞŵďĞƌϮϬϮϬKƉĞƌĂƚŝŶŐZĞƉŽƌƚ
ǆŚŝďŝƚͲĂƐŚZĞĐĞŝƉƚƐ

ĂƚĞ          ŵŽƵŶƚ          ^ŽƵƌĐĞ

ϬϵͬϬϭͬϮϬ      Ψϱ͕ϱϬϬ͘ϬϬ       ^ĂůĞ
ϬϵͬϬϴͬϮϬ      Ψϳ͕ϭϵϳ͘ϬϬ       ^ĂůĞ
ϬϵͬϭϬͬϮϬ      ΨϯϬϬ͘ϬϬ         ^ĂůĞ
ϬϵͬϭϱͬϮϬ      Ψϯ͕ϮϮϲ͘ϬϬ       ^ĂůĞ
ϬϵͬϭϱͬϮϬ      Ψϯ͕ϯϱϬ͘ϬϬ       ^ĂůĞ
ϬϵͬϭϲͬϮϬ      Ψϴϲ͘ϬϬ          ^ĂůĞ
ϬϵͬϭϳͬϮϬ      Ψϭϯ͕ϳϳϬ͘ϬϬ      ^ĂůĞ
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ϬϵͬϮϭͬϮϬ      Ψϭϲϭ͘ϬϬ         ^ĂůĞ
ϬϵͬϮϴͬϮϬ      Ψϯ͕ϴϬϬ͘ϬϬ       ^ĂůĞ

dKd>         Ψϯϵ͕ϴϵϬ͘ϬϬ
                     Case 20-14710       Doc 52   Filed 11/30/20        Page 7 of 12


'ŽůĚΘ^ŝůǀĞƌƵƚŽ^ĂůĞƐ͕>>
^ĞƉƚĞŵďĞƌϮϬϮϬKƉĞƌĂƚŝŶŐZĞƉŽƌƚ

ǆŚŝďŝƚͲĂƐŚŝƐďƵƌƐĞŵĞŶƚƐ

ĂƚĞ           ŵŽƵŶƚ        ŚĞĐŬEŽ͘    WĂǇĞĞ           ĞƐĐƌŝƉƚŝŽŶ

ϵͬϭͬϮϬ         ΨϱϰϬ͘ϬϬ            ϭϲϯϭ    K͘&ƌĞŶĐŚ       ĞƚĂŝůŝŶŐ
ϵͬϭͬϮϬ         Ψϭϱ͘ϬϬ              ŶͬĂ    Ds             sZ&ĞĞƐ
ϵͬϮͬϮϬ         Ψϲ͕ϴϬϬ͘ϬϬ          ϭϱϵϵ    ^͘'ĂůĂďŽǀ      ^ĂůĂƌǇ
ϵͬϮͬϮϬ         ΨϳϱϬ͘ϬϬ            ϭϲϮϵ    K͘&ƌĞŶĐŚ       ĞƚĂŝůŝŶŐ
ϵͬϯͬϮϬ         ΨϮ͕ϬϬϬ͘ϬϬ           ŶͬĂ    ĂƉŝƚĂůKŶĞ     ƌĞĚŝƚĂƌĚ
ϵͬϰͬϮϬ         ΨϰϭϮ͘ϬϬ            ϭϲϯϬ    ͘>ĂŶƚŝƐ       ŽĚǇtŽƌŬ
ϵͬϴͬϮϬ         ΨϮ͕ϭϬϬ͘ϬϬ          ϭϲϯϱ    'Θ'/Ŷƚů͘       ŽŶƐƵůƚŝŶŐ
ϵͬϴͬϮϬ         Ψϭϲ͘ϬϬ              ŶͬĂ    tĞƐďĂŶĐŽ        tŝƌĞdƌ͘&ĞĞ
ϵͬϵͬϮϬ         Ψϲ͕ϱϬϬ͘ϬϬ          ϭϲϭϲ    dŚĞŽWƌŽƉ͘      ZĞŶƚ
ϵͬϵͬϮϬ         Ψϲϭϱ͘ϬϬ            ϭϲϯϲ    K͘&ƌĞŶĐŚ       ĞƚĂŝůŝŶŐ
ϵͬϭϬͬϮϬ        ΨϮ͕ϭϰϰ͘ϬϬ           ŶͬĂ    ĂƉŝƚĂůKŶĞ     ƌĞĚŝƚĂƌĚ
ϵͬϭϬͬϮϬ        Ψϳϲϴ͘ϬϬ             ŶͬĂ    WŽƚŽŵĂĐůĞĐƚ   hƚŝůŝƚŝĞƐ
ϵͬϭϭͬϮϬ        Ψϭϱ͘ϬϬ              ŶͬĂ    Ds             sZ&ĞĞƐ
ϵͬϭϰͬϮϬ        Ψϭ͕ϰϰϳ͘ϬϬ          ϭϲϰϬ    'Θ'/Ŷƚů͘       ŽŶƐƵůƚŝŶŐ
ϵͬϭϰͬϮϬ        Ψϲϳϲ͘ϬϬ            ϭϲϰϯ    'Θ'/Ŷƚů͘       ŽŶƐƵůƚŝŶŐ
ϵͬϭϱͬϮϬ        ΨϰϴϬ͘ϬϬ            ϭϲϰϭ    K͘&ƌĞŶĐŚ       ĞƚĂŝůŝŶŐ
ϵͬϭϱͬϮϬ        ΨϲϮ͘ϬϬ              ŶͬĂ    Ds             sZ&ĞĞƐ
ϵͬϭϱͬϮϬ        Ψϲϵϱ͘ϬϬ             ŶͬĂ    '             hƚŝůŝƚŝĞƐ
ϵͬϭϴͬϮϬ        Ψϭϱ͘ϬϬ              ŶͬĂ    Ds             sZ&ĞĞƐ
ϵͬϮϭͬϮϬ        Ψϯ͕ϱϯϭ͘ϬϬ          ϭϲϰϮ    'Θ'/Ŷƚů͘       ŽŶƐƵůƚŝŶŐ
ϵͬϮϭͬϮϬ        Ψϭϱ͘ϬϬ              ŶͬĂ    Ds             sZ&ĞĞƐ
ϵͬϮϭͬϮϬ        Ψϭ͕ϴϱϮ͘ϬϬ           ŶͬĂ    ĂƉŝƚĂůKŶĞ     ƌĞĚŝƚĂƌĚ
ϵͬϮϯͬϮϬ        Ψϭ͕ϵϯϳ͘ϬϬ          ϭϲϰϱ    ^ƉĞĞĚƵƚŽ      ZĞƉĂŝƌŽĨsĞŚŝĐůĞ
ϵͬϮϯͬϮϬ        ΨϮ͕ϭϮϯ͘ϬϬ          ϭϲϰϲ    'Θ'/Ŷƚů͘       ŽŶƐƵůƚŝŶŐ
ϵͬϮϰͬϮϬ        Ψϭϱ͘ϬϬ              ŶͬĂ    Ds             sZ&ĞĞƐ
ϵͬϮϰͬϮϬ        Ψϭ͕ϵϱϬ͘ϬϬ           ŶͬĂ    ĂƉŝƚĂůKŶĞ     ƌĞĚŝƚĂƌĚ
ϵͬϮϴͬϮϬ        ΨϴϬϬ͘ϬϬ            ϭϲϰϵ    WĂƵůĂůĂƐƐĂ    ƚƚŽƌŶĞǇƐ&ĞĞƐ
ϵͬϮϴͬϮϬ        ΨϮ͕ϴϴϳ͘ϬϬ          ϭϲϱϬ    'Θ'/Ŷƚů͘       ŽŶƐƵůƚŝŶŐ
ϵͬϮϴͬϮϬ        ΨϲϴϬ͘ϬϬ            ϭϲϱϭ    :͘&ƌĂŶĐŽ       WĂƌƚƐ
ϵͬϮϴͬϮϬ        Ψϭ͕ϬϬϬ͘ϬϬ          ϭϲϱϯ    &ƵƐƚŶĞƌ         ZĞŶƚĂůƵƚŽZĞŝŵď
ϵͬϮϵͬϮϬ        ΨϳϮϬ͘ϬϬ            ϭϲϰϰ    K͘&ƌĞŶĐŚ       ĞƚĂŝůŝŶŐ
ϵͬϮϵͬϮϬ        ΨϱϮϭ͘ϬϬ            ϭϲϰϴ    ͘>ĂŶƚŝƐ       ŽĚǇtŽƌŬ
ϵͬϮϵͬϮϬ        ΨϳϰϮ͘ϬϬ            ϭϬϳϯ    K͘&ƌĞŶĐŚ       ĞƚĂŝůŝŶŐ
ϵͬϯϬͬϮϬ        ΨϰϬϬ͘ϬϬ            ϭϲϱϰ    DdŽǁŝŶŐ      dŽǁŽĨsĞŚŝĐůĞ
ϵͬϯϬͬϮϬ        Ψϭϱ͘ϬϬ              ŶͬĂ    tĞƐďĂŶĐŽ        ĂŶŬ&ĞĞƐ

dKd>          Ψϰϱ͕Ϯϯϴ͘ϬϬ
Case 20-14710   Doc 52   Filed 11/30/20   Page 8 of 12
Case 20-14710   Doc 52   Filed 11/30/20   Page 9 of 12
Case 20-14710   Doc 52   Filed 11/30/20   Page 10 of 12
Case 20-14710   Doc 52   Filed 11/30/20   Page 11 of 12
Case 20-14710   Doc 52   Filed 11/30/20   Page 12 of 12
